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                United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                    ____________


No. 24-5072                                               September Term, 2024
                                                                        1:22-cv-03569-RC
                                                  Filed On: April 1, 2025 [2108675]
National Council of Agricultural Employers,

              Appellant

      v.

United States Department of Labor, et al.,

              Appellees

      BEFORE:       Circuit Judges Katsas and Childs, and Senior Circuit Judge
                    Ginsburg


                   COURTROOM MINUTES OF ORAL ARGUMENT

PROCLAMATION BEING MADE, the Court opened on Tuesday, April 1, 2025 at 9:30
a.m. The cause was heard as case No. 1 of 3 and argued before the Court by:

     David R. Dorey, counsel for Appellant.
     Daniel Winik (DOJ), counsel for Appellees.


                                                        FOR THE COURT:
                                                        Clifton B. Cislak, Clerk

                                                BY:     /s/
                                                        Anne A. Rothenberger
                                                        Deputy Clerk
